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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Ro Cher Enterprises, Inc.
                                                 Plaintiff,
v.                                                            Case No.: 1:23−cv−16056
                                                              Honorable Steven C. Seeger
U.S. Environmental Protection Agency, et al.
                                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, February 29, 2024:


        MINUTE entry before the Honorable Steven C. Seeger: The Court reviewed the
joint initial status report. (Dckt. No. [18]) The parties are engaged in an administrative
proceeding. The parties must file a status report in that administrative proceeding by
March 12, 2024. The parties must keep the Court apprised of any important developments
in the administrative proceeding. The Court will keep a watchful eye out for the decision
by the Supreme Court in Jarkesy v. SEC. This Court will defer dispositive motions until
the Supreme Court issues its decision. The Court takes the motion for a preliminary
injunction under advisement. The Court directs the parties to engage in good faith
settlement discussions, and file a status report by March 31, 2024. Mailed notice (ags)




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